Case 6:20-cr-00034-CEM-EJK Document 47-1 Filed 12/03/20 Page 1 of 1 PageID 298




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


   UNITED STATES OF AMERICA

   v.                                      CASE NO. 6:20-cr-34-Orl-41EJK

   CARL STUART FAREY
                                      ORDER

         THIS CAUSE having come on for consideration upon the motion of

   the government to seal the Government's In Camera exhibit one and exhibit

   two to the United States Response in opposition to the defendant’s motion for

   compassionate release.

         It is hereby ORDERED that the exhibits be SEALED.

         DONE AND ORDERED this ______ day of December, 2020.




                                              Embry J. Kidd
                                              United States Magistrate Judge
